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                          UNITED STATES DISTRICT COURT
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                          NORTHERN DISTRICT OF GEORGIA                                3y:U^-SSHDe(>uty Qerk
                               NEWNAN DIVISION                                                0.


L. ROCHELLE BANKHEAD,
Plaintiff,


V.                                                       CaseNo.:3:24-cv-0167



AMAZON.COM, INC.;
AMAZON DATA SERVICES INDIA PRIVATE LIMITED;
AMIT AGARWAL, CEO OF AMAZON INDIA,
Defendants.




             PLAINTIFF'S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE


COMES NOW, Plaintiff, L. Rochelle Bankhead, pro se, and respectfully moves this Honorable


Court for an extension of time to file her response to Defendants' Answer and Motion to


Dismiss. In support of this motion, Plaintiff states as follows:


1. Defendants filed their Answer and Motion to Dismiss on the 7th of February, 2025.



2. Plaintiffs response is currently due on the 24th of February, 2025.



3. Due to the complexity of the legal and factual issues involved in this case. Plaintiff

requires additional time to research, review the Defendant's Answer, and prepare a


thorough response.



4. Plaintiff is a pro se litigant and is diligently working to ensure an accurate and well-


supported response is submitted.
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5. Plaintiff respectfully requests an extension of 14 days, making the new deadline for filing


the response on the 10th of March, 2025.



6. This request is made in good faith and not for the purposes of undue delay.


WHEREFORE, Plaintiff respectfully requests that this Court grant an extension of time to file

her response to Defendants' Answer and Motion to Dismiss, and set a new deadline of the


10th of March, 2025.


Respectfully submitted,




L. ROCHELLE BANKHEAD
65 Crescent Street
Newnan, GA 30265
678-789-8950
Plaintiff, pro se
